       Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 1 of 26




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

                                            )
SECURITIES AND EXCHANGE COMMISSION,         )
                                            )
            Plaintiff,                      )
                                            )
v.                                          )   Civil Action No.
                                            )   3:17-cv-00155-VAB
MARK J. VARACCHI and                        )
SENTINEL GROWTH FUND                        )
MANAGEMENT, LLC,                            )
                                            )
            Defendants,                     )
and                                         )
                                            )
RADAR ALTERNATIVE FUND LP and               )
RADAR ALTERNATIVE MASTER FUND SPC,          )
                                            )
            Relief Defendants.              )   January 20, 2021
                                            )

      NINTEENTH INTERIM APPLICATION FOR PROFESSIONAL FEES AND
      EXPENSES INCURRED BY THE RECEIVER AND HIS PROFESSIONALS
           Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 2 of 26




                                                    TABLE OF CONTENTS


I. SUMMARY OF PROFESSIONAL FEES AND EXPENSES REQUESTED ....................... 3
  A.  Discounts .......................................................................................................................... 6
  B.         Fee Schedules ................................................................................................................... 7
  C.         Activity Categories ........................................................................................................... 8
II. SUMMARY OF CASH ON HAND ..................................................................................... 10
III. SUMMARY OF RECEIVER’S ADMINISTRATION OF THE ESTATE .......................... 10
  A.    The Receiver’s Website and Investor Contact ............................................................... 11
  B.         The Eighteenth Quarterly Status Report ........................................................................ 11
  C.         Marshaling of Receivership Assets and Receipt of Assets by Receiver ........................ 12
  D.         Claims Administration ................................................................................................... 12
  E.         Litigation – Sarroff Action ............................................................................................. 16
  F.         Investigation of Private Investments .............................................................................. 17
  G.         Tolling Agreements with Mark J. Varacchi and Jason Rhodes ..................................... 18
  H.         Actual and Anticipated Disbursement of Assets ............................................................ 19
  I.         Anticipated Closure ........................................................................................................ 20
IV. DESCRIPTION OF ASSETS OF THE RECEIVERSHIP ESTATE.................................... 20
V. THE COURT SHOULD AWARD THE REQUESTED FEES AND EXPENSES.............. 21
 A.   The Governing Legal Standard ...................................................................................... 21
  B.         Application of the Governing Legal Standard to the Application ................................. 23
  C.         Source and Manner of Payment ..................................................................................... 24




                                                                      2
           Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 3 of 26




      NINETEENTH INTERIM APPLICATION FOR PROFESSIONAL FEES AND
       EXPENSES INCURRED BY THE RECEIVER AND HIS PROFESSIONALS

       Jed Horwitt, Esq. (the “Receiver”), as the Receiver appointed by this Court in the above-

captioned action (the “Receivership Proceeding”) commenced by the Securities and Exchange

Commission (the “SEC” or “Commission”), by and through his undersigned counsel, and Zeisler

& Zeisler, P.C. (“Z&Z”), as counsel for the Receiver, pursuant to this Court’s Order Appointing

Receiver entered May 1, 2017 (ECF No. 12, the “Receivership Order”) and Order Reappointing

Receiver (ECF No. 47, the “Reappointment Order”, and together with the Receivership Order, the

“Receivership Orders”) entered February 14, 2018, respectfully submits this eighteenth interim

application (the “Application”) for professional fees and expenses incurred on behalf of the

Receivership Estate (as defined in the Receivership Orders) by the Receiver, Z&Z and the

Receiver’s accountant and financial advisor, Verdolino & Lowey, P.C. (“V&L”), during the period

commencing October 1, 2021, through and including December 31, 2021 (the “Compensation

Period”). In advance of filing, the Receiver provided the Commission with a copy of this

Application (including all exhibits), and the Commission’s counsel stated that the Commission has

no objection to the approval of the professional fees and expenses requested herein.

       In support of this Application, the Receiver, Z&Z and V&L respectfully represent as

follows:

I.     SUMMARY OF PROFESSIONAL FEES AND EXPENSES REQUESTED

       1.       Jed Horwitt, Esq. serves in his capacity as the Court-appointed Receiver for

Sentinel Growth Fund Management, LLC (“Sentinel”), Radar Alternative Fund LP (“Radar LP”)

and Radar Alternative Master Fund SPC (“Radar SPC” and, together with Radar LP, collectively,

the “Relief Defendants,” and the Relief Defendants together with Sentinel, collectively, the

“Receivership Entities”).

                                                3
         Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 4 of 26




        2.      This Application has been prepared in accordance with the Billing Instructions for

Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission (the

“SEC Guidelines”) and the Receivership Orders.

        3.      Pursuant to the SEC Guidelines, the following exhibits are attached to this

Application:

        a.      The completed Standardized Fund Accounting Report (“SFAR”), in the form
                prescribed by the SEC Guidelines, and certified by Receiver, is attached hereto as
                Exhibit A;

        b.      A Certification of Compliance with the SEC Guidelines by the Receiver and Z&Z
                is attached hereto as Exhibit B;

        c.      A summary of total expenses for which reimbursement is requested for Z&Z is
                attached hereto as Exhibit C;

        d.      Time records summarizing the work performed by the Receiver and his legal
                professionals and paraprofessionals for each of their Activity Categories (as
                hereinafter defined) are attached hereto as Exhibits D-1; D-2; D-3; D-4; D-5; D-6;
                D-7; D-8; D-9; D-10; D-11; D-12; and D-13.1

        e.      A Certification of Compliance with the SEC Guidelines by V&L is attached
                hereto as Exhibit E;

        f.      A summary of total expenses for which reimbursement is requested for V&L is
                attached hereto as Exhibit F; and

        g.      Time records summarizing the work performed by V&L’s accounting
                professionals and paraprofessionals for each of its Activity Categories (as
                hereinafter defined) during the Compensation Period are attached hereto as
                Exhibits G-1; and G-2.

        4.      The Receiver and Z&Z attorneys and paraprofessionals have expended a total of



1
  Because their contents include privileged and confidential material, protected attorney work-product, and
other sensitive information describing, inter alia, the Receiver’s strategy in this Receivership Proceeding
and related litigation, and pursuant to the Court’s Order entered August 11, 2017 (ECF No. 25), Exs. D-1
through D-13 are filed under seal. Furthermore, the Receiver and Z&Z have intentionally omitted time
records from their Activity Category Six (Application for Professional Fees and Expenses), because they
are not requesting compensation for services performed under this Activity Category.


                                                    4
        Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 5 of 26




327.50 hours working on this matter during the Compensation Period. The Receiver and Z&Z seek

allowance of compensation for services rendered during the Compensation Period on behalf of the

Receivership Estate in the amount of $93,617.20, and reimbursement of actual and necessary

expenses in the amount of $16,487.93.

       5.      The Receiver’s accountant and financial advisor V&L’s professionals and

paraprofessional have expended a total of 7.40 hours working on this matter during the

Compensation Period. V&L seeks allowance of compensation for services rendered during the

Compensation Period on behalf of the Receivership Estate in the amount of $1,983.60.

       6.      The Receiver, Z&Z and V&L acknowledge that their fee compensation is subject

to a twenty percent (20%) holdback, pursuant to the SEC Guidelines and the Receivership Orders.

       7.      The fees assessed reflect the hours worked by the Receiver, Z&Z and V&L

attorneys and paraprofessionals, and the hourly rates applicable at the time that they rendered their

services, as modified by the significant discounts provided by the Receiver, Z&Z and V&L

(described below).

       8.      These amounts also take into account all relevant circumstances and factors as set

forth in the Connecticut Rules of Professional Conduct and the SEC Guidelines, including the

nature of the services performed, the amount of time spent, the experience and ability of the

professionals and paraprofessional working on this engagement, the novelty and complexity of the

specific issues involved, the time limitations imposed by the circumstances, and the

responsibilities undertaken by the Receiver under the Receivership Orders.

       9.      Section III below summarizes the Receiver’s administration of the Receivership

Estate since his appointment. A narrative description of the particular services provided by the

Receiver and Z&Z’s attorneys and paraprofessionals is included in the time records attached as



                                                 5
          Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 6 of 26




Ex. D-1 through D-13. A narrative description of the particular services provided by V&L’s

professionals and paraprofessionals is included in the time records attached as Ex. G-1 and G-2.

          10.   Z&Z’s expense reimbursements requested are principally consist in the following:

(i) PACER charges for accessing electronic documents in the numerous federal litigations relevant

to the Receivership Proceeding; (ii) expenses associated with the Receiver’s website; (iii)

photocopying; (iv) processing and hosting of electronically stored information related to litigation

relevant to the Receivership Proceeding; (v) online legal research; (vi) court reporter fees for

transcripts and (vii) expert fees. (See Ex. C.)

          11.   The Receiver, Z&Z and V&L have not sought reimbursement for secretarial, word

processing, proofreading or document preparation expenses (other than by professionals or

paraprofessionals), data processing and other staff services (exclusive of paraprofessional services)

or clerical overtime. Nor have the Receiver, Z&Z or V&L requested reimbursement for any meals

during the Compensation Period.

          12.   The Receiver and Z&Z have complied with the SEC Guidelines’ internal

photocopying rates as follows: $0.15 per page for black and white and $1.00 per page for color

copies.

          A. Discounts

          13.   As proposed by the Receiver as part of his application for selection as receiver

submitted to the Commission, and as provided in the Receivership Orders, the Receiver, Z&Z and

V&L have consented to and implemented substantial public service discounts with respect to their

billing rates for services provided in this Receivership Proceeding.

          14.   More specifically, and as shown in the fee schedules set forth below, Z&Z and V&L

have consented to 20% public service discounts to its regularly applicable hourly rates for all legal

professionals and paraprofessionals.
                                                  6
          Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 7 of 26




         15.    The Receiver originally agreed to discount his generally applicable hourly rate for

services provided when serving primarily in his capacity as Receiver to $250 per hour, reflecting

a 50% discount. Notwithstanding, as an additional discount, despite the fact that many of the

services provided by the Receiver throughout this Receivership Proceeding were mostly legal in

nature, the Receiver and Z&Z have voluntarily applied the much more deeply discounted $250

hourly pay rate to all of the Receiver’s time.

         B. Fee Schedules

         16.    For the Compensation Period, the Receiver is not seeking compensation for any

services he provided.

         17.    The fee schedule for all Z&Z legal professionals (other than the Receiver) who

provided services during the Compensation Period, showing for each: his or her name; the hourly

rate applied to his or her services in this Receivership Proceeding and his or her customary hourly

rate; the discount reflected in the applied hourly rate; the number of hours of services performed

in the Compensation Period; the amount billed for such services in the Compensation Period; and

the amount of the discount to his or her services during the Compensation Period; is as follows:2


          Legal              Rate             Rate        Hours        Amount            Amount
       Professional       (Cust. Rate)      Discount                     Billed        Discounted
    Kindseth, Stephen     $340 ($425)         $85          26.6        $9,044.00        $2,261.00
    Moriarty, James       $320 ($400)         $80           92.8      $29,696.00        $7,424.00
    Romney, Aaron         $320 ($400)         $80          128.4      $41,088.00       $10,272.00
    Byrd, Daniel          $180 ($240)         $50          62.3       $11,214.00        $3,738.00
    TOTALS:                                                310.1      $91,042.00       $23,695.00

         18.    The fee schedule for the Z&Z legal paraprofessional who provided services during

the Compensation Period, showing: his or her name; the hourly rate applied to his or her services



2
 The schedule does not include amounts incurred to prepare the prior fee application since Z&Z is not
seeking compensation for such services.

                                                   7
        Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 8 of 26




in this Receivership Proceeding and his or her customary hourly rate; the discount reflected in the

applied hourly rate; the number of hours of services performed in the Compensation Period; the

amount billed for such services in the Compensation Period; and the amount of the discount to his

or her services during the Compensation Period; is as follows:


      Legal               Rate           Rate           Hours         Amount         Amount
 Paraprofessional        (Cust.        Discount                        Billed       Discounted
                          Rate)
 Accurso, Deborah      $148 ($185)        $37              .7         $103.60          $25.90
 Joseph, Kristin       $148 ($185)        $37             5.2         $769.60         $192.40
 Accurso, Ian          $148 ($185)        $37            11.5        $1,702.00        $425.50
 TOTALS:                                                 17.4        $2,575.20        $643.80

       19.     The fee schedule for all V&L accounting professionals who provided services

during the Compensation Period, showing for each: his or her name; the hourly rate applied to his

or her services in this Receivership Proceeding and his or her customary hourly rate; the discount

reflected in the applied hourly rate; the number of hours of services performed in the Compensation

Period; the amount billed for such services in the Compensation Period; and the amount of the

discount to his or her services during the Compensation Period; is as follows:


 Accounting               Rate             Rate         Hours          Amount         Amount
 Professional          (Cust. Rate)      Discount                        Billed      Discounted
 Bailey, T.            $280 ($350)         $70             .6           $168.00        $42.00
 Lowey, K.             $372 ($465)         $93            1.7           $632.40       $158.10
 Whitehouse, M.        $232 ($290)         $58            5.1          $1,183.20      $295.80
 TOTALS:                                                  7.4          $1,983.60      $495.90

       C. Activity Categories

       20.     Pursuant to the SEC Guidelines, the Receiver, Z&Z and V&L have utilized the

following activity categories (each an “Activity Category,” and, collectively, the “Activity

Categories”) under which the following fees have been incurred during the Compensation Period:

             Activity Categories Utilized by Receiver and Z&Z Legal Professionals

                                                8
          Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 9 of 26




         a.    Category One: Case Administration, 7.3 hours, $1,767.60 (see Ex. D-1);

         b.    Category Two: Asset Analysis & Recovery, 0 hours, $0.00 (see Ex. D-2);

         c.    Category Three: Asset Disposition, 0 hours, $0.00 (see Ex. D-3);

         d.    Category Four: Business Operations, 0 hours, $0.00 (see Ex. D-4);

         e.    Category Five: Claims Administration & Objections, 40.7 hours, $13,216.00 (see

Ex. D-5);

         f.    Category Six: Application for Professional Fees and Expenses (the Receiver and

Z&Z does not seek compensation for thefees incurred for these services in this Application) (see

Ex. D-6);

         g.    Category Seven: Litigation – Taran Asset Management, LLC, et al., .20 hours,

$68.00 (see Ex. D-7); and

         h.    Category Eight: Litigation – A. L. Sarroff Management, LLC, et al., 277.80

hours, $78,085.60 (see Ex. D-8).

         i.    Category Nine: Litigation – Shay Kostiner, 0 hours, $0.00 (see Ex. D-9).

         j.    Category Ten: Litigation – Weeden Prime Services, LLC, 0 hours, $0.00 (see Ex.

D-10).

         k.    Category Eleven: Litigation – Rajo Corp., 0 hours, $0.00 (see Ex. D-11).

         l.    Category Twelve: Litigation – Ralph Giorgio, 0 hours, $0.00 (see Ex. D-12).

         m.    Category Thirteen: Asset Recovery – Ralph Giorgio, 1.50 hours, $480.00 (see Ex

D-13).

                       Activity Categories Utilized by V&L Professionals

         a.    Category One: Tax Preparation, .40 hours, $92.80 (see Ex. G-1); and

         b.    Category One: Sarroff Litigation, 7.0 hours, $1,890.80 (see Ex. G-2).



                                               9
          Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 10 of 26




II.       SUMMARY OF CASH ON HAND

          21.   As of December 31, 2021, the Receiver held in the Receivership Account (as

defined and discussed in Section IV-D below) the amount of $598,877.08.

          22.   In accordance with the Plan Approval Order, prior to the Compensation Period, the

Receiver transferred $801,365.01 from the Receivership Account to a newly established

segregated account (the “Reserve Account”) to “ensure that if a Remaining Disputed Claim is

Allowed, the Receiver shall have funds left to pay such Allowed Claim in the amount provided for

in the Plan of Distribution for such category of Claimant.” See Plan Approval Order § 8(xi). Z&Z

attorneys consulted with V&L to ensure that the Reserve Account was established as a Qualified

Settlement Fund under Section 468B of the Internal Revenue Code, and that the establishment and

funding of the Reserve Account did not disrupt the Receivership Account’s Qualified Settlement

Fund status.

          23.   The Receiver thereafter distributed payment to a secured creditor in accordance

with this Court’s Order, and deposited additional reserves in connection with the second

distribution to Claimants authorized by this Court all as previously reported by the Receiver in

prior quarterly reports.

          24.   The Reserve Account had balance of $734,550.66 as of December 31, 2021.

          25.   Thus, the Receiver’s cash on hand held in the Receivership Account and the

Reserve Account, therefore, total, as of December 31, 2021, the amount of $1,333,427.74. This

combined balance reflects a net decrease of $111,047.60 during the Compensation Period. (See

Ex. A.)

III.      SUMMARY OF RECEIVER’S ADMINISTRATION OF THE ESTATE

          26.   During the Compensation Period, the Receiver diligently exercised his duties



                                               10
        Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 11 of 26




pursuant to the terms of the Receivership Orders and made significant progress in investigating,

marshalling and liquidating Receivership Assets for distribution to the holders of Allowed Claims

against the Receivership Estate. Items requiring significant work by the Receiver and his

professionals, as discussed in more detail below, were, in summary, continuing to litigate

previously commenced civil actions and to move forward with his objections to the Remaining

Disputed Claims.

       27.     Utilizing Z&Z and V&L, the Receiver has undertaken the following on behalf of

the Receivership Estate.

       A. The Receiver’s Website and Investor Contact

       28.     At all times during the Compensation Period, the Receiver has maintained a website

– http://jedhorwittreceiver.com – that has provided information to the public concerning the

Receivership Proceeding, in addition to the more particular notices provided to parties-in-interest.

       29.     The website states who the Receiver is and describes his role, provides access to

filings in the Receivership Proceeding, and contains contact information such that interested

parties may contact Z&Z attorneys by e-mail or telephone with questions, concerns or information.

       30.     Z&Z’s professionals, on behalf of the Receiver, have fielded and effectively

responded to inquiries from investors in order to ensure that they are educated concerning the

Receivership Proceeding and the claims management procedures discussed herein.


       B. The Eighteenth Quarterly Status Report

       31.     The Receiver and Z&Z also prepared and, on October 29, 2021, filed the Eighteenth

Quarterly Status Report (ECF No. 246). In drafting the Eighteenth Quarterly Status Report, the

Receiver and Z&Z compiled comprehensive information to update the Court, the Commission and

all other parties-in-interest as to the Receiver’s operations, the Receivership Estate’s assets and the


                                                  11
          Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 12 of 26




status of various litigation and Claims against the Receivership Estate.

          C. Marshaling of Receivership Assets and Receipt of Assets by Receiver

          32.   Shortly after his appointment, pursuant to the Receivership Order, the Receiver

opened an account at a financial institution experienced in servicing court-appointed receivers (and

like fiduciaries), which account holds funds marshaled by the Receiver and constitutes a

Receivership Asset. In October, 2017, the Receiver opened a separate money market account with

the institution to hold a significant portion of the Receivership Account funds. A separate account

held the Reserve Account funds. Then, in April 2021 the Receiver transferred all three account

balances to three corresponding accounts with a separate financial institution; two accounts now

holding the non-reserved funds (collectively, the “Receivership Account”), and a third account

holding the Reserve Account funds.

          33.   Pursuant to the Court’s orders, the Receiver and Z&Z previously undertook to

assume control and possession over the funds held in certain frozen accounts and to transfer them

to the Receivership Account.

          34.   During the Compensation Period, the prior accounts (before the balances were

transferred) accrued interest at the rate of .01% for a total amount of $15.97 in interest earned for

the Compensation Period. The Receivership Account was also assessed a “Bank & Tech Fee” each

month during the Compensation Period in the amount of $300.

          D. Claims Administration

          35.   Prior to the Compensation Period, Z&Z attorneys investigated the Receivership

Estate’s basis for objecting to the Remaining Disputed Claims. The Receiver then objected to such

claims.

                a. Claim Asserted by Neila Fortino

          36.   With respect to the claim held by Neila Fortino (the “Fortino Claim”), the Receiver

                                                 12
        Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 13 of 26




thoroughly analyzed the factual and legal basis for her asserted claim in the amount of $4,038,000.

After the completion of his investigation, the Receiver concluded that the Fortino Claim against

the Receivership Estate should be allowed in the amount of $1,489,550 and no more.3 Although

Fortino never invested directly into the Receivership Entities, her claim is based upon the transfer

originally made by the intermediary, Mind the Gap Consulting, LLC (“MTG”) to Sentinel in the

amount of $4 million, and the subsequent returns on account of this amount from Sentinel to MTG

in the amount of $2,560,450. The Receiver had confirmed that MTG, in fact, made these

investments on Fortino’s behalf. Considering this and the other surrounding circumstances, the

Receiver submitted that Fortino should hold the claim rather than MTG. Furthermore, based upon

these amounts, under the “Rising Tide” method of distribution (the “Rising Tide Method”),

Fortino’s pre-receivership recovery percentage would be 62.76% ($2,510,450/$4,000,000).

                b. Claim Asserted by Flatiron Partners

        37.     The Receiver, having fully investigated the facts and circumstances surrounding

the Flatiron Claim, and having considered applicable legal authority as well as various equitable

factors, concluded that the pre-receivership recovery percentage attained by Flatiron was

43.06%—$3,057,931 recovered on account of $7,100,921 invested.

                c. Procedural Posture of Claims Determination

        38.     The parties thereafter agreed upon the specific time frame for the summary

procedures and submitted such proposed to this Court on April 16, 2020. (ECF No. 178.) This

Court entered such scheduling order on April 17, 2020, (ECF No. 179), which, inter alia, provided



3
 As a result of discovery conducted pursuant to this Court’s summary procedures order, as referenced
herein, the Reciver determined that a $50,000 transfer previously credited against Fortino’s claim was not
actually paid to her agent, Mind the Gap Consulting, LLC. Accordingly, the Receiver had adjusted his
position accordingly such that the allowed amount of Fortino’s claim should be $1,489,550 (rather than
$1,439,550 as previously represented by the Receiver).

                                                   13
       Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 14 of 26




that discovery shall be completed, not propounded, by August 31, 2020.

       39.    On December 18, 2020, the Receiver filed his Motion, On Consent, for Procedures

and Deadlines for the Final Determination of the Claims of Neila Fortino and Flatiron Partners,

L.P. The motion propsed the the Receiver shall file his inition motion on January 15, 2021, the

claimants would file their memorandum in opposition on or before February 26, 2021, and the

Receiver shall file his reply on or before March 19, 2021. On December 19, 2020, this Court

entered the proposed procedures and deadlines. (ECF No. 205.)

       40.    Accordingly, on January 15, 2021, the Receiver filed the following: (i) The

Receiver’s Renewed Motion to Determine the Claim of Neila Fortino, (ECF No. 205),

accompanied by The Receiver’s Memorandum of Law in Support of His Renewed Motion to

Determine the Claim of Neila Fortino, (ECF No. 207); and (i) The Receiver’s Renewed Motion to

Determine the Claim of Flatiron Partners, LP, (ECF No. 208), accompanied by The Receiver’s

Memorandum of Law in Support of His Renewed Motion to Determine the Claim of Flatiron

Partners, LP, (ECF No. 209).

       41.    On February 26, 2021, Fortino filed her Objection and Memorandum in Opposition

to Motion for Determination of Claim Held by Neila Fortino. (ECF No. 214).

       42.    On March 1, 2021, Flatiron filed its Motion for Extension of Time to Respond to

Receiver’s Renewed Motion to Determine the Claim of Flatiron Partners, LP, (ECF No. 215),

through March 5, 2021, with the Receiver’s consent, which this Court granted on March 2, 2021.

(ECF No. 216.)

       43.    On March 5, 2021, Flatiron filed its Objection to Receiver’s Renewed Motion for

Determination of Claim Held by Flatiron Partners, LP. (ECF No. 217.)

       44.    On March 19, 2021, the Receiver filed his reply to each of the objections filed by



                                              14
       Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 15 of 26




Fortino and Flatiron. (ECF No. 218 & 19.)

       45.     On July 22, 2021, this Court heard oral argument with respect to the Receiver’s

motions for determination of claims held by Flatiron and Fortino, and such claimants’ objections.

       46.     On July 30, 2021, this Court entered its Ruling and Order on Pending Motions,

(ECF No. 238), granting both of the Receiver’s motions. This Court concluded that “Fortino holds

a claim against the Receivership Estate based upon the pre-receivership transfer made and

distributions received by MTG,” and allowed her claim in the amount of $1,489,550. This Court

also determined that the pre-receivership recovery realized by Fortino under the Rising Tide

method equaled 62.76%, and released for the use and benefit of the Receivership Estate

$390,733.81 in funds currently held by the Receiver in reserve on account of Fortino’s originally

asserted claim. This Court also concluded in its Ruling and Order on Pending Motions that the pre-

receivership recovery percentage realized by Flatiron under the Rising Tide method was 43.06%.

       47.     On September 17, 2021, Flatiron and Fortino each filed a Notice of Appeal

appealing this Court’s Ruling and Order on Pending Motions to the Court of Appeals for the

Second Circuit. (ECF Nos. 240 & 241.) The individual appeals have been consolidated and will

be heard together.

       48.     Counsel for the Reciver, Flatiron and Ms. Fortino participated in mediation through

the Second Circuit CAMP mediation program in November and December 2021. Following

Counsel’s respective submission of their pre-mediation statement, an initial mediation session was

conducted with counsel for all three parties on November 30, 2021, and all counsel agreed to

schedule second mediation sessions. Thereafter, a second mediation session was conducted

between the Reciver’s counsel and Ms. Fortino’s counsel on December 8, 2021, but a settlement

could not be reached. A second mediation session was scheduled between the Reciver’s counsel



                                               15
        Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 16 of 26




and Flatiron’s counsel for December 14, 2021, but counsel agreed to cancel the second mediation

session because the parties’ settlement positions were too far apart to achieve a resolution.

        49.    On January 5, 2022, Ms. Fortino filed her Appellant’s brief, special appendix and

joint appendix, and Flatiron filed its Appellant’s brief. Pursuant to the Receiver’s Scheduling

Request, and Second Circuit order approving that request, the Receiver will file his Appellee brief

in opposition to each Appellant’s brief by March 4, 2022; the appellants will then have 21 days to

file any reply brief. Thus, absent extensions, each appeal should be fully briefed by March 25,

2022.

        E. Litigation – Sarroff Action

        50.    During the Compensation Period, the Receiver and Z&Z continued to prosecute the

lawsuit captioned, Jed Horwitt Esq., Receiver v. Alan Sarroff et al., (Civil Action No.: 3:17-cv-

01902-VAB) (the “Sarroff Action”), against Alan L. Sarroff (“Sarroff”), A.L. Sarroff

Management, LLC (“Sarroff Management”), and A.L. Sarroff Fund, LLC (“Sarroff Fund,” and all

of them collectively, the “Sarroff Defendants”), in the United States District Court for the District

of Connecticut.

        51.    The Sarroff Action sought to recover pursuant to Connecticut’s Uniform Fraudulent

Transfer Act, Conn. Gen. Stat. §§ 52-552 et seq. (“CUFTA”) over $14 million that Mark J.

Varacchi (“Varacchi”) had caused Sentinel and Radar LP to pay to or for the benefit of the Sarroff

Defendants (the “Sarroff Transfers”).

        52.    The Sarroff Transfers sought to be avoided as fraudulent transfers consist of: (i) a

$7.3 million three-day loan repayment on a loan originally made to cover a day trading margin

call; (ii) a $125,000 “fee” for that loan and an additional $25,000 “kicker”; and (iii) “investment”

related transfers totaling in excess of $7.7 million

        53.    The jury trial had been scheduled in the Sarroff Action to commence, with jury
                                                 16
        Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 17 of 26




selection, on November 29, 2021.

       54.     In advance of the jury trial, the Receiver and the Sarroff Defendants, through their

counsel, engaged in extensive negotiations in an effort the resolve the Sarroff Action and all related

claims. Ultimately, effective November 11, 2021, the parties entered into a Settlement Agreement

subject to this Court’s approval.

       55.     On November 23, 2021, the Receiver filed his Motion for Entry of an Order

Approving Settlement Agreement Between Jed Horwitt, Receiver and Alan L. Sarroff, A.L.

Sarroff Management, LLC And A.L. Sarroff Fund, LLC. (ECF No. 248.) In summary, to settle the

Receiver’s claims against them, the Sarroff Defendants agreed to pay the Receiver $3,350,000 in

two installments: (i) $1,800,000 in good and immediately available funds within thirty (30) days

from the date on which this Court enters an order granting the motion to approve the Settlement

Agreement; and (ii) $1,550,000 in good and immediately available funds within one-hundred

eighty (180) days from the date on which this Court enters the approval order. The second payment

would be secured by collateral having a value in excess of the balance due.

       56.     On December 21, 2021, this Court entered its Order Approving Settlement

Agreement. (ECF No. 252).

       F. Investigation of Private Investments

       57.     The Receiver has investigated the Private Investments. The Receiver has researched

and analyzed various entities that identified as potentially constituting Private Investments which

the Receiver may recover for the benefit of the Receivership Estate.

       58.     After reviewing the records of the Receivership Estate, as well as the documents

produced pursuant to the Receiver’s requests, the Receiver has preliminarily determined that the

investments in Zipway LLC, Gravy, Inc., Invigilio, LLC, and Greenhouse Solutions, Inc. are

unlikely to provide any value to the Estate. Comparatively, the Receiver has not yet determined if
                                                 17
        Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 18 of 26




the value realized by liquidating the Receivership Estate’s interests in Kizzang, Entourage, Roots,

and StereoCast would justify the costs of doing so.

       G. Tolling Agreements with Mark J. Varacchi and Jason Rhodes

       59.     The Receiver has investigate potential causes of action against Mr. Varacchi and

Mr. Rhodes based upon their conduct in orchestrating and operating a Ponzi scheme through

Sentinel and the Relief Defendants, and otherwise engaging in actionable conduct. Due to the

pending criminal proceedings involving them, the potential need for their testimony in various

civil proceedings, and the possibility of a settlement, the Receiver has not yet commenced a civil

action against them and has shought to postpone being compelled to do so by applicable statute of

limitations.

       60.     In order to preserve the status quo, the Receiver’s counsel approached each of Mr.

Varrachi’s and Mr. Rhodes’ criminal counsel and asked if their respective clients would enter into

a Tolling Agreement and Stipulation which would “toll, suspend, and extend the running of any

and all applicable statutes and periods of limitations and other time-related claims and/or defenses

which he might otherwise be or become entitled to assert.” The Receiver counsel proposed a tolling

period through July 1, 2020. Mr. Varacchi and Mr. Rhodes agreed to enter into such agreements.

       61.     Effective December 13, 2019, Mr. Varacchi and the Receiver entered into their

Tolling Agreement and Stipulation, providing for the tolling of all applicable statutes of limitations

through and including July 1, 2020.

       62.     Effective December 18, 2019, Mr. Rhodes and the Receiver entered into their

Tolling Agreement and Stipulation, providing for the tolling of all applicable statutes of limitations

through and including July 1, 2020.

       63.      In June, 2020, counsel for the Receiver again approached counsel for each of Mr.

Rhodes and Mr. Varacchi and requested that they enter into a second tolling agreement through
                                                 18
       Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 19 of 26




and including December 1, 2020. They each agreed.

       64.     Each of Mr. Rhodes and Mr. Varacchi thereafter entered into a Second Tolling

Agreement and Stipulation made effective June 17, 2020, expressly tolling all application of

statutes of limitations and related deadlines through and including December 1, 2020

       65.     Once again, in November, 2020, the Receiver’s counsel requested that Mr. Rhodes

and Mr. Varacchi enter into a Third Tolling Agreement and Stipulation through July 1, 2021. They

each agreed and thereafter entered into the Third Tolling Agreement and Stipulation made

effective November 23, 2020, expressly tolling all application of statutes of limitations and related

deadlines through and including July 1, 2021.

       66.     Most recently, the Receiver’s counsel again requested the Mr. Rhodes and Mr.

Varacchi enter into a tolling agreement and stipulation through February 1, 2022. They each agreed

and thereafter entered into the Fourth Tolling Agreement and Stipulation made effective June 21,

2021, expressly tolling all application of statutes of limitations and related deadlines through and

including February 1, 2022.

       H. Actual and Anticipated Disbursement of Assets

       67.     On October 27, 2021, the Receiver filed his Eighteenth Interim Application for

Professional Fees and Expenses Incurred by the Receiver and His Professionals (“Eighteenth

Interim Application”) (ECF No. 244) for the period from July 1, 2021, through October 31, 2021,

requesting that (i) the Receiver and Z&Z be awarded an allowance of $106,726.80 for legal

services rendered during the Compensation Period, and $12,263.73 for the reimbursement of

expenses, subject to a 20% holdback applicable to fees for services, and (ii) V&L be awarded an

allowance of $15,648.00, subject to a 20% holdback applicable to fees, for the services it rendered

during Compensation Period.

       68.     On November 3, 2021, this Court granted the Eighteenth Interim Application. (ECF
                                                 19
       Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 20 of 26




No. 247.)

       69.    Accordingly, on November 3, 2021, the Receiver disbursed $97,645.17 from the

Receivership Account to the Receiver and Z&Z, and $12,518.40 to V&L (reflecting the awarded

fees less the 20% holdback plus the reimbursed expenses).

       70.    Additionally, during the Compensation Period, the Receiver, Z&Z and V&L have

incurred fees for their services and Z&Z has advanced all necessary expenses, which are requested

for reimbursement through this Application.

       71.    The Receiver holds cash on hand in the Receivership Account and the Reserve

Account. As of December 31, 2021, the balance of the Receivership Accounts is $598,877.08, and

the balance of the Reserve Account is $734,550.66. Thus, the total cash on hand in the

Receivership Account and the Reserve Account is $1,333,427.74.

       72.    The Receiver is hopeful that additional funds (in addition to those currently held in

the Receivership Account) will be available in the future. Such will depend upon, inter alia, the

liquidation of additional assets, the Second Circuit Court of Appeal’s affirmance of this Court

Ruling and Order on Pending Motions with respect to the Remaining Disputed Claims, and the

recovery upon judgments recovered and settlements entered into by the Receiver.

       I. Anticipated Closure

       73.    At this time, it is premature for the Receiver to speculate as to when this

Receivership Proceeding will be ready to close.

IV.    DESCRIPTION OF ASSETS OF THE RECEIVERSHIP ESTATE

       74.    As of the end of the Compensation Period, the following assets are a part of the

Receivership Estate:

              a. The Receivership Account, which is valued at $598,877.08;



                                               20
        Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 21 of 26




              b. The Reserve Account, which is valued at $734,550.66;

              c. The Private Investments, which value is unknown;

              d. The judgment entered against Ralph Giorgio in the amount of $153,491.70, plus

                   interest;

              e. The settlement payment due from Carroll Christopher Geason and Robin B.

                   Taxman in the amount of $50,000, plus interest;

              f. Any and all causes of action to recover money and possibly other assets for the

                   benefit of the Receivership Estate, which causes of action the Receiver is

                   presently investigating and evaluating, or vigorously pursuing, including, but

                   not limited to, the claims against the Sarroff Defendants and Giorgio.

        75.   With respect to the Private Investments, the Receiver has identified the following

securities:

              a.       Kizzang: 3,600,000 Class C shares, 5,400,000 Class D shares, and
                       1,152,666 Class E evidenced by certificates identifying Varacchi as the
                       owner of such interest;

              b.       Greenhouse: 250,000 shares, evidenced by a certificate identifying
                       Varacchi as the owner of such interest; and

              c.       StereoCast: 150,000 shares in the name of Varacchi, evidenced by a
                       certificate identifying Varacchi as the owner of such interest.

        76.   The Receiver is investigating how best to liquidate and maximize the value of these

equity interests in Kizzang, Entourage, Roots, and StereoCast.

V.      THE COURT SHOULD AWARD THE REQUESTED FEES AND EXPENSES

        A. The Governing Legal Standard

        77.   The District Court has the power to appoint a receiver and to award the receiver

fees for his services and for expenses incurred by the Receiver in the performance of his duties.

See Donovan v. Robbins, 588 F. Supp. 1268, 1272 (N.D. Ill. 1984) (“[T]he receiver diligently and
                                                21
        Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 22 of 26




successfully discharged the responsibilities placed upon him by the Court and is entitled to

reasonable compensation for his efforts.”); see also Securities & Exchange Comm’n v. Elliott, 953

F. Supp. 1560 (11th Cir. 1992) (receiver is entitled to compensation for faithful performance of

his duties.).

        78.     The District Court has discretion to determine compensation to be awarded to a

court-appointed equity receiver and his counsel and “may consider all of the factors involved in a

particular receivership in determining the appropriate fee.” Gaskill v. Gordon, 27 F.3d 248, 253

(7th Cir. 1994).

        79.     The case law and other authority may provide “convenient guidelines,” but

ultimately “the unique fact situation renders direct reliance on precedent impossible.” Securities

& Exchange Comm’n v. W.L. Moody & Co., 374 F. Supp. 465, 480 (S.D. Tex. 1974), aff’d, 519 F.

2d 1087 (5th Cir. 1975).

        80.     In awarding counsel fees in Securities Act receiverships, “[t]he court will consider

... the complexity of problems faced, the benefit to the receivership estate, the quality of work

performed, and the time records presented.” Securities & Exchange Comm’n v. Fifth Ave. Coach

Lines, Inc., 364 F. Supp. 1220, 1222 (S.D.N.Y. 1973); see also United States v. Code Prods., 362

F.2d 669, 673 (3rd Cir. 1966) (court should consider the time, labor and skill required (but not

necessarily expended), the fair value of such time, labor and skill, the degree of activity, the

dispatch with which the work is conducted and the result obtained).

        81.     While “results are always relevant,” a good result may take a form other than a

“bare increase in monetary value.” Securities & Exchange Comm’n v. Elliott, 953 F.2d 1560, 1577

(11th Cir. 1992) (“Even though a receiver may not have increased, or prevented a decrease in, the

value of the collateral, if a receiver reasonably and diligently discharges his duties, he is entitled



                                                 22
       Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 23 of 26




to compensation.”). Overall results can be determined only at the conclusion of the Receivership

Proceeding.

       82.     Another “basic consideration is the nature and complexity of the legal problems

confronted and the skill necessary to resolve them.” Moody, 374 F. Supp. at 485. Moreover, “[t]ime

spent cannot be ignored.” Id. at 483.

       B. Application of the Governing Legal Standard to the Application

       83.     Based on the foregoing, the Receiver, Z&Z and V&L respectfully submit that the

services for which they seek compensation in this Application were necessary for, and beneficial

to, the orderly administration of the Receivership Estate.

       84.     As more fully set forth throughout this Application and as detailed in the exhibits

submitted herewith, the issues addressed by the Receiver, Z&Z and V&L have been and continue

to be highly complex, requiring investigation of an alleged fraud that spanned years, consisted of

many poorly-documented transactions and involved numerous investors, Private Investments and

financial institutions. The Receiver and Z&Z have made substantial progress in investigating the

Receivership Estate’s assets and in commencing and prosecuting litigation on behalf of the

Receivership Estate.

       85.     The Receiver, Z&Z and V&L respectfully submit that compensation for the

foregoing services as requested is commensurate with the complexity, importance and nature of

the problems, issues or tasks involved. The professional services were performed expediently and

efficiently. Substantial progress has been accomplished during the Compensation Period and since

the Receiver’s appointment May 1, 2017.

       86.     At the same time, the Receiver and Z&Z have agreed to considerable public service

discounts, which exceeded even those generous discounts offered in the Receiver’s initial

application.
                                                23
          Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 24 of 26




          87.   Furthermore, counsel for the Commission has reviewed this Application and has

stated that it has no objection to the approval of the professional fees and expenses requested

herein.

          88.   Accordingly, the Receiver, Z&Z and V&L submit that the compensation requested

herein is fair, reasonable and warranted in light of the nature, extent and value of such service to

the Receivership Estate and all parties-in-interest.

          C. Source and Manner of Payment

          89.   The Receivership Estate includes cash held in the Receivership Account. The

Receiver, Z&Z and V&L request that the Court enter an order allowing and permitting the

approved fees and reimbursed expenses to be paid from the Receivership Account, less the 20%

holdback (applicable only to fees incurred by Z&Z). The Receivership Account presently holds

sufficient funds to make payment after this Court’s approval while maintaining sufficient funds

(in his discretion after consultation with the Commission) for the remaining litigation costs

(primarily, the pending appeals) as well as the ordinary operating costs of the receivership.

          WHEREFORE, Jed Horwitt, Esq., Receiver, and Zeisler & Zeisler, P.C., counsel to the

Receiver, respectfully request that (i) this Application be granted; (ii) the Receiver and Z&Z be

awarded an allowance of $93,617.20 for legal services rendered during the Compensation Period,

and $16,487.93 for the reimbursement of expenses, subject to a 20% holdback applicable to fees

for services, (iii) V&L be awarded an allowance of $1,983.60 for services rendered during the

Compensation Period, subject to a 20% holdback applicable to fees for services, and (iv) grant

such other and further relief as this Court deems just and proper.




                                                 24
Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 25 of 26




Dated at Bridgeport, Connecticut, this 20th day of January, 2022.

                                             Respectfully submitted,

                                             JED HORWITT, ESQ., RECEIVER


                                             /s/ Jed Horwitt
                                             Jed Horwitt, Receiver



                                         By: /s/ Stephen M. Kindseth
                                            Stephen M. Kindseth (ct14640)
                                            Zeisler & Zeisler, P.C.
                                            10 Middle Street, 15th Floor
                                            Bridgeport, CT 06604
                                            Telephone: 203-368-4234
                                            Email: skindseth@zeislaw.com
                                            His Attorneys




                                        25
       Case 3:17-cv-00155-VAB Document 253 Filed 01/20/22 Page 26 of 26




                                 CERTIFICATE OF SERVICE

       I, Stephen M. Kindseth, hereby certify that a copy of foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-

mail to all parties by operation of the Court’s electronic filing system or by mail to anyone unable

to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court’s CM/ECF System and also at http://jedhorwittreceiver.com/.




                                                      /s/ Stephen M. Kindseth
                                                      Stephen M. Kindseth (ct14640)




                                                 26
